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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                                             CRIMINAL NO.

         v.
                                                                     VIOLATIONS:
ADAM CHAZIN,
                                                                      18 U.S.C. §§ 2252(a)(4)(B) and (b)(2)
              Defendant                                              (Possession of Child Pornography)
                                                                      7 D.C. Code, Section 2502.01(a)
                                                                     (Possession of Unregistered Firearm)
                                                                     22 D.C. Code § 1803, 7 D.C. Code § 2506.01(b)
                                                                     (Attempted Possession of a Large Capacity
                                                                     Ammunition Feeding Device)


                                               INFORMATION

         The United States Attorney charges that:

                                                 COUNT ONE

         On or about February 10, 2020, in the District of Columbia and elsewhere, the defendant, ADAM

CHAZIN, did knowingly possess 1 or more images or video files, or other matter, which contain any visual

depiction that has been mailed, or has been shipped or transported using any means or facility of interstate or

foreign commerce or in or affecting interstate or foreign commerce, by any means including by computer and

the internet, and the production of such visual depiction involves the use of a minor engaging in sexually explicit

conduct, and such visual depiction is of such conduct.

         (Possession of Child Pornography, in violation of Title 18, United States Code, Sections

2252(a)(4)(B) and (b)(2))


                                                 COUNT TWO

         On or about and February 10, 2020, in the District of Columbia, the defendant, ADAM CHAZIN, did

possess a certain firearm, without being the holder of a valid registration certificate.

         (Possession of Unregistered Firearm, in violation of 7 D.C. Code, Section 2502.01(a))
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                                              COUNT THREE

        On or about February 10, 2020, in the District of Columbia, the defendant, ADAM CHAZIN, did

attempt to possess, sell and transfer a large capacity ammunition feeding device.

        (Attempted Possession of a Large Capacity Ammunition Feeding Device, in violation of 22 D.C.

Code, Section 1803, 7 D.C. Code, Section 2506.01(b))




                                            MICHAEL SHERWIN
                                            Acting United States Attorney

                                           ___________
                                           Amy E. Larson
                                           Assistant United States Attorney
                                           New York Bar No. 4108221
                                           U.S. Attorney's Office
                                           555 4th Street, N.W., Room 4-842
                                           Washington, D.C. 20530
                                           202-252-7863
                                           Amy.larson2@usdoj.gov
